
The Supreme Court affirmed the decree of the Common Pleas on March 12, 1883, in the following opinion:
Per Curiam
*184This contention arises between members of an unincorporated association. It was composed exclusively of females. No sound objection can be made to its declared objects. They were worthy and commendable. All its benevolence and benefits, however, were confined exclusively to its members. The report of the Master shows conclusively that the association had outlived its usefulness. The want of harmony, and the exhibition of bickerings manifested among th members, clearly justified a dissolution of the Association. In contemplation of law it was practically a partnership in which the members were interested. It was legally disbanded. Each member is entitled to her proper share of the funds. The appellants are not entitled to the whole.
Decree affirmed and appeal dismissed at the cost of the appellants.
